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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


   JEAN ROBERT SAINT-JEAN, EDITH
   SAINT-JEAN, FELEX SAINTIL, YANICK
   SAINTIL, LINDA COMMODORE,                           Hon. Margo K. Brodie
   BEVERLEY SMALL, JEANETTE SMALL,
   AND THE ESTATE OF FELIPE R.
   HOWELL, SR.,
                                                       Case No. 11-cv-2122 (MKB)(RLM)
                                Plaintiffs,

                          -v-

   EMIGRANT MORTGAGE COMPANY, INC.
   AND EMIGRANT BANK,

                                Defendants.



                             DEFENDANTS’ NOTICE OF APPEAL

                PLEASE TAKE NOTICE that defendants Emigrant Mortgage Company and

 Emigrant Bank (“Defendants”) hereby appeal to the United States Court of Appeals for the Second

 Circuit from the final judgment entered in this action on November 16, 2022 (ECF No. 780), as

 well as all orders leading to that judgment.
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                                     48514



                                               Respectfully submitted,


  /s/ Matthew A. Schwartz                      /s/ Evandro C. Gigante
  Richard H. Klapper                           Evandro C. Gigante
  Matthew A. Schwartz                          PROSKAUER ROSE LLP
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                                Attorneys for Defendants
                      Emigrant Mortgage Company and Emigrant Bank



 Dated: December 6, 2022




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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 6, 2022, a true and correct copy of the foregoing was

 served by CM/ECF to the parties registered to the Court’s CM/ECF system.



 Dated: December 6, 2022                                    /s/ Matthew A. Schwartz
                                                            Matthew A. Schwartz




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